                                                Re: FW: [EXTERNAL] URGENT -- Hannah Tucker
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         Subject: Re: FW: [EXTERNAL] URGENT -- Hannah Tucker
         From: "Casey Parsons (Mx.)" <casey@wrest.coop>
         Date: 5/11/2024, 4:34 PM
         To: Spencer Lay <slay@adacounty.id.gov>
         CC: "ritchie@wrest.coop" <ritchie@wrest.coop>, "david@wrest.coop" <david@wrest.coop>

         Spencer, I just spoke with Ms. Tucker. Please ensure that all audio and video of her booking and time in the jail is
         preserved. Can you also please share with me how exactly she was being uncooperative during booking?

         Thanks,

         Casey


         On May 11, 2024 11:02:59 AM MDT, Spencer Lay <slay@adacounty.id.gov> wrote:
          Mx. Parson,

           I wanted to respond to your email regarding Ms. Tucker.

           When Ms. Tucker came into the jail she informed our booking team that she was invoking her right to remain silent.
           Our depu�es honored that right, but did con�nue to ask her booking ques�ons (biographical ques�ons). This
           resulted in her being placed on a booking hold, pursuant to Idaho Code 20-601. Obviously, we were not asking any
           eviden�ary ques�ons during this process, and the ques�ons that were being asked all fell under the clearly
           established booking excep�on. However, Ms. Tucker refused to answer and this refusal resulted in her being placed
           on a hold. Had she completed the booking process she would have been released on bail before 3:00am.

           Addi�onally, had she con�nued to refuse to answer the booking process we would have scheduled a Booking
           Hearing for Monday in front of a judge. Also pursuant to Idaho Code 20-601. Also, had she asked to speak to an
           a�orney she would have been oﬀered free phone calls and the right to do so.

           From what I have been told, once Ms. Tucker was explained this process and believed we were not lying to her, she
           answered the booking ques�ons and completed the booking process.

           Thank you for your email and I hope that answers your ques�on. If not, please feel free to reach out.

           Sincerely,


                                       Spencer T. Lay
                                       Associate Legal Advisor
                                       Ada County Sheriff’s Office
                                       7200 Barrister Dr., Boise, ID 83704
                                       O: (208) 577-3304
                                       M: (208) 949-7107
                                       slay@adacounty.id.gov

             “We make safer places for you to live, work, and play.”




           From: Casey Parsons (Mx.) <casey@wrest.coop>
           Sent: Saturday, May 11, 2024 1:28:59 AM
           To: Terry Derden <tderden@adacounty.id.gov>
           Cc: ritchie@wrest.coop <ritchie@wrest.coop>; david@wrest.coop <david@wrest.coop>


1 of 2                                                                                                                5/14/2024, 11:18 AM
                                            Re: FW: [EXTERNAL] URGENT -- Hannah Tucker
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         Subject: [EXTERNAL] URGENT -- Hannah Tucker


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         Terry:

         I am wri�ng with regard to my client, Hannah Tucker. Ms. Tucker was arrested at a protest downtown earlier this
         evening on Friday, and the charge is for R+O. I a�empted to visit Ms. Tucker following her arrest and was advised by
         jail staﬀ and law enforcement that I was not permi�ed to do so on the basis that she was refusing to answer
         ques�ons pursuant to her 5th Amendment rights, and the jail refused to let her colleagues bail her out for the same
         reason.

         Hoping to chat about this ASAP. Please call my cell tomorrow if you're available, it's 208-589-1702.

         Thrive,

         Casey Parsons




2 of 2                                                                                                                           5/14/2024, 11:18 AM
